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 4                             IN THE UNITED STATES DISTRICT COURT
 5                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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 7
 8   UNITED STATES OF AMERICA,             ) No. 2: 11 - cr - 511 EJG-DAD
                                           )
 9                         Plaintiff,      ) ORDER RE DEFENDANT LONGLEY’S
                                           ) MOTION FOR BILL OF PARTICULARS
10         v.                              )
                                           )
11   W. THEODORE LONGLEY,                  )
                                           )
12                         Defendant.      )
                                           )
13   _____________________________         )
14                At the November 1, 2012 hearing on Defendant Longley’s Motion
15   for a Bill of Particulars and in Plaintiff United States’ letter dated
16   November 21, 2012, filed with the court, Plaintiff provided additional
17   information with respect to its theory of the case and the list of
18   properties at issue in this case.        Defendant Longley, though counsel, has
19   agreed that this information addresses the concerns raised in his motion
20   and at the hearing.
21                IT IS HEREBY ORDERED, therefore, that Defendant Longley’s
22   Motion for a Bill of Particulars is denied as moot.
23   DATED: November 21, 2012.
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     longley0511.ord.bop
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